





TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-00-00704-CR







Fabian Ramirez, Appellant



v.



The State of Texas, Appellee






FROM THE DISTRICT COURT OF TRAVIS COUNTY, 147TH JUDICIAL DISTRICT


NO. 0951099, HONORABLE LARRY FULLER, JUDGE PRESIDING






PER CURIAM

Fabian Ramirez seeks to appeal from judgments of conviction for aggravated sexual
assault of a child and indecency with a child by contact.  The sentences were imposed on July 19,
2000.  An attorney was appointed to represent appellant on appeal on September 19, 2000, and
she filed notice of appeal on October 13, 2000.  The notice of appeal states that a motion for new
trial was filed on August 18, 2000.  The motion for new trial does not appear in the clerk's record
and we are advised by the clerk that no motion for new trial was filed.  

A copy of the motion, styled "pro se motion for new trial" has been furnished to the
Court.  The motion was signed by appellant and does not bear the district court's file mark.  The
motion states that it was prepared by an attorney, and the attorney's signature appears below the
certificates of presentment and service (which reflect that the motion was hand-delivered to the
trial court and district attorney on August 18, 2000).

On this record, we must conclude that the appeal was not timely perfected.  See
Tex. R. App. P. 26.2.  Under the circumstances, we lack jurisdiction to dispose of the purported
appeal in any manner other than by dismissing it for want of jurisdiction.  See Slaton v. State, 981
S.W.2d 208 (Tex. Crim. App.1998); Olivo v. State, 918 S.W.2d 519, 522-23 (Tex. Crim. App.
1996).

The appeal is dismissed.


Before Chief Justice Aboussie, Justices Yeakel and Patterson

Dismissed for Want of Jurisdiction

Filed:   February 15, 2001

Do Not Publish



